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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES             §                CIVIL ACTION
       CONSOLIDATED LITIGATION            §                NO. 06-4024 “K” (2)
                                          §                JUDGE DUVAL
__________________________________________§                MAG. WILKINSON
                                          §
PERTAINS TO: Responder, Levee and MRGO,   §
              O’Dwyer, No. 06-4024        §
__________________________________________§

                                   NOTICE OF HEARING

       To:    All counsel of record.



       PLEASE TAKE NOTICE THAT, the undersigned will hear the United States’ Motion to

Dismiss at the Courtroom of the Honorable Stanwood R. Duval, Jr., United States Courthouse at

500 Poydras Street, New Orleans, LA, 70130, on the 15th of November, 2006, at 9:30 a.m., and

that the motion will be submitted upon the pleadings and supplemental materials, without oral

argument.

       New Orleans, Louisiana, this ____ day of __________, 2006.

                                       ________________________________________
                                       Judge Stanwood R. Duval, Jr.
                                       Eastern District of Louisiana
